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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

FCS CAPITAL, LLC,                          :
BARRY SHARGEL and                          :
EMIL YASHAYEV,                             :              CIVIL ACTION
                  Plaintiffs,              :
                                           :
              v.                           :
                                           :              Case No. 20-5580
                                           :
JOSHUA L. THOMAS, ESQUIRE,                 :
               Defendant.                  :

                                       ORDER

       AND NOW, this 20th day of November 2020, the Response to Fee Petition (ECF No.

6) having been erroneously filed to this docket, it is hereby ORDEDED that the Response to

Fee Petition (ECF No. 6) be STRICKEN.


                                                          BY THE COURT

                                                          /s/ Chad F. Kenney

                                                          CHAD F. KENNEY, JUDGE
